                       Case 4:20-mj-04237-DHH Document 2 Filed 09/09/20 Page 1 of 1
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                            Defendant(s)


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                                                                                           Complainant’s signature

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